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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION



  IN THE MATTER OF THE SEARCH OF:               No. _________________________
                                                      4:20-mj-48



  20-052-04                                     REDACED APPLICATION FOR
                                                SEARCH AND SEIZURE
                                                WARRANT



      I, Craig Scherer, being duly sworn depose and say:

       I am a Special Agent with the United States Department of Homeland
Security, Immigration and Customs Enforcement (ICE), Homeland Security
Investigations (HSI), and have reason to believe that on the property or premises
fully described in Attachment A, there is now concealed certain property, namely:
that which is fully described in Attachment B, attached hereto and incorporated
herein by reference, which I believe is property constituting evidence of the
commission of criminal offenses, contraband, the fruits of crime, or things
otherwise criminally possessed, or property designed or intended for use or
which is or has been used as the means of committing criminal offenses,
concerning violations of 18 U.S.C. §§ 2251 (sexual exploitation of children), 2252
(certain activities relating to material involving the sexual exploitation of minors),
and 2252A (certain activities relating to material constituting or containing child
pornography).

      The facts to support a finding of Probable Cause are contained in my
Affidavit filed herewith.


                                       __________________________________________
                                       Craig Scherer, Special Agent
                                       Department of Homeland Security

      Subscribed and sworn to before me, telephonically, on the ____ day of
_____________________, 2020, at Sioux Falls, South Dakota.



                                       __________________________________________
                                       VERONICA L. DUFFY
                                       United States Magistrate Judge
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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION



  IN THE MATTER OF THE SEARCH OF:            No. _________________________
                                                  4:20-mj-48



  20-052-04                                  REDACTED SEARCH
                                             AND SEIZURE WARRANT




TO:   ANY AUTHORIZED LAW ENFORCEMENT OFFICER

      An application by a federal law enforcement officer or an attorney for the
government requests the search of the following property more fully described in
Attachment A, attached hereto and incorporated herein by reference.

       I find that the affidavit, or any recorded testimony, establish probable
cause to search and seize the property described above, and that such search
will reveal evidence of violations of 18 U.S.C. §§ 2251 (sexual exploitation of
children), 2252 (certain activities relating to material involving the sexual
exploitation of minors), and 2252A (certain activities relating to material
constituting or containing child pornography), which is more fully described in
Attachment B, attached hereto and incorporated herein by reference.

      YOU ARE COMMANDED to execute this warrant on or before
________________________________ (not to exceed 14 days)
G in the daytime B 6:00 a.m. to 10:00 p.m.
G at any time in the day or night as I find reasonable cause has been established.

      Unless delayed notice is authorized below, you must give a copy of the
warrant and a receipt for the property taken to the person from whom, or from
whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

      The officer executing this warrant, or an officer present during the
execution of the warrant, must prepare an inventory as required by law and
promptly return this warrant and inventory to the undersigned Judge.

      G Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification
may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person
who, or whose property, will be searched or seized,
G for ________ days (not to exceed 30).
                                       [2]
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G until, the facts justifying, the later specific date of ___________________.


__________________________________ at Sioux Falls, South Dakota
Date and Time Issued telephonically


                                      __________________________________________
                                      VERONICA L. DUFFY
                                      United States Magistrate Judge




                                        [3]
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION


  IN THE MATTER OF THE SEARCH OF:            No. ____________________________
                                                    4:20-mj-48



  20-052-04                                  REDACTED RETURN



Date and time warrant executed: ______________________________________________________

Copy of warrant and inventory left with: ________________________________________________

Inventory made in the presence of: _____________________________________________________

Inventory of the property taken and name of any person(s) seized (attach additional sheets,
if necessary):




                                      CERTIFICATION
 I declare under penalty of perjury that this inventory is correct and was returned along
 with the original warrant to the designated judge.

                                     ____________________________________________________
                                     Craig Scherer, Special Agent
                                     Department of Homeland Security
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                                  ATTACHMENT A
                               Property to Be Searched

     This warrant applies to the contents of and information associated with a Western

Digital 8TB SATA hard drive, SN: VDHMNGVD, containing the forensic image of an Acer

laptop computer, identified as P19042878 Acer LTHD01 500GB, seized from Nuwan

WICKRAMASINGHE, currently in the custody of HSI Sioux Falls located at 2708 N. 1st

Avenue, Sioux Falls, SD.




                                           [2]
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                                 ATTACHMENT B
                     PROPERTY TO BE SEARCHED AND/OR SEIZED

      This warrant authorizes (i) the search of the property identified in Attachment A for
only the following and (ii) authorizes the seizure of the items listed below only to the extent
they constitute the following:

      (a)    evidence of violations of 18 U.S.C. §§ 2252 and 2252A (“subject violations”); or

       (b)   any item constituting contraband due to the subject violations, fruits of the
subject violations, or other items possessed whose possession is illegal due to the subject
violations; or

      (c)    any property designed for use, intended for use, or used in committing any
subject violations.

             Subject to the foregoing, the items authorized to be seized include the
following:

             1. Computer(s), computer hardware, computer software, computer related
documentation, computer passwords and data security devices, mobile telephone devices,
mobile data storage devices, mobile electronic music players, video gaming devices,
videotapes, video recording devices, video recording players, and video display monitors that
may be, or are used to: visually depict child pornography or child erotica; display or access
information pertaining to a sexual interest in child pornography; display or access
information pertaining to sexual activity with children; or distribute, possess, or receive child
pornography, child erotica, or information pertaining to an interest in child pornography or
child erotica.

            2. Any and all computer software, including programs to run operating systems,
applications (such as word processing, graphics, or spreadsheet programs), utilities,
compilers, interpreters, and communications programs, including, but not limited to, P2P
software.

            3. Any and all notes, documents, records, or correspondence, in any format and
medium (including, but not limited to, e-mail messages, chat logs and electronic messages)
pertaining to the possession, receipt, or distribution of child pornography as defined in 18
U.S.C. § 2256(8) or to the possession, receipt, or distribution of visual depictions of minors
engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2).

             4. In any format and medium, all originals, computer files, copies, and negatives
of child pornography as defined in 18 U.S.C. § 2256(8), visual depictions of minors engaged
in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), or child erotica.

           5. Any and all notes, documents, records, or correspondence, in any format or
medium (including, but not limited to, e-mail messages, chat logs and electronic messages),

                                               [3]
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identifying persons transmitting, through interstate or foreign commerce by any means,
including, but not limited to, by the United States Mail or by computer, any child
pornography as defined in 18 U.S.C. § 2256(8) or any visual depictions of minors engaged in
sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).

             6. Any and all notes, documents, records, or correspondence, in any format or
medium (including, but not limited to, e-mail messages, chat logs and electronic messages,
other digital data files and web cache information) concerning the receipt, transmission, or
possession of child pornography as defined in 18 U.S.C. § 2256(8) or visual depictions of
minors engaged in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).

             7. Any and all notes, documents, records, or correspondence, in any format or
medium (including, but not limited to, e-mail messages, chat logs and electronic messages,
and other digital data files) concerning communications between individuals about child
pornography or the existence of sites on the Internet that contain child pornography or that
cater to those with an interest in child pornography.

            8. Any and all notes, documents, records, or correspondence, in any format or
medium (including, but not limited to, e-mail messages, chat logs and electronic messages,
and other digital data files) concerning membership in online groups, clubs, or services that
provide or make accessible child pornography to members.

            9. Any and all records, documents, invoices and materials, in any format or
medium (including, but not limited to, e-mail messages, chat logs and electronic messages,
and other digital data files) that concern any accounts with an Internet Service Provider.

            10. Any and all records, documents, invoices and materials, in any format or
medium (including, but not limited to, e-mail messages, chat logs and electronic messages,
and other digital data files) that concern online storage or other remote computer storage,
including, but not limited to, software used to access such online storage or remote computer
storage, user logs or archived data that show connection to such online storage or remote
computer storage, and user logins and passwords for such online storage or remote computer
storage.

            11. Any and all visual depictions of minors.

             12. Any and all address books, mailing lists, supplier lists, mailing address
labels, and any and all documents and records, in any format or medium (including, but not
limited to, e-mail messages, chat logs and electronic messages, and other digital data files),
pertaining to the preparation, purchase, and acquisition of names or lists of names to be
used in connection with the purchase, sale, trade, or transmission, through interstate or
foreign commerce by any means, including by the United States Mail or by computer, any
child pornography as defined in 18 U.S.C. § 2256(8) or any visual depiction of minors engaged
in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).

             13. Any and all documents, records, or correspondence, in any format or medium
(including, but not limited to, e-mail messages, chat logs and electronic messages, and other
digital data files), pertaining to the ownership or use of the devices listed in Attachment A,

                                             [4]
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including, but not limited to, rental or lease agreements, rental or lease payments.

             14. Any and all diaries, notebooks, notes, and any other records. in any format
or medium (including, but not limited to, e-mail messages, chat logs and electronic messages,
and other digital data files), reflecting personal contact and any other activities with minors
visually depicted while engaged in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).

              15. Records or other items which evidence ownership or use of electronic devices
listed in Attachment A, including, but not limited to, sales receipts, bills for Internet access,
purchase agreements, registration documents, or profiles.

            16. Before reviewing data from the electronic storage media or electronic stored
information seized pursuant to this warrant for purposes unrelated to this investigation, the
government agrees to request another search warrant from the court.




                                               [5]
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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION


  IN THE MATTER OF THE SEARCH OF:             CASE NUMBER:        4:20-mj-48



  20-052-04                                   REDACTED AFFIDAVIT IN
                                              SUPPORT OF SEARCH
                                              WARRANT APPLICATION


STATE OF SOUTH DAKOTA          )
                               ) SS
COUNTY OF MINNEHAHA            )

                 INTRODUCTION AND AGENT BACKGROUND

      I, Craig Scherer, being duly sworn, states as follows:

      1.     I am a Special Agent with the United States Department of
Homeland Security, Immigration and Customs Enforcement (ICE), Homeland
Security Investigations (HSI) in Sioux Falls, South Dakota and have been duly
employed in this position since December 2003. I am a graduate of the Criminal
Investigator Training Program and ICE Special Agent Training Program at the
Federal Law Enforcement Training Center. I have received specialized training
pertaining to conducting criminal investigations, immigration and customs laws,
investigative techniques, searching databases, conducting interviews, executing
search warrants, and making arrests with respect to criminal violations of United
States Code.

        2.    I have investigated and assisted in the investigation of cases
involving the possession, receipt, and distribution of child pornography in
violation of United States Statues 18 U.S.C. §§ 2251, 2252, and 2252A, involving
violations of law involving child pornography and 18 U.S.C. § 2422(b),
enticement of a minor using the internet. During my law enforcement career I
have become familiar with the modus operandi of persons involved in the illegal
production, distribution and possession of child pornography and those who
engage in enticement of minors using the internet. Based on my experience and
training, I am knowledgeable of the various means utilized by individuals who
illegally produce, distribute, receive and possess child pornography.

      3.    I have been informed that 18 U.S.C. § 2422(b) prohibits enticing
minors to engage in sexual acts and that 18 U.S.C. §§ 2251, 2252, and 2252A
prohibit the manufacture, distribution, receipt, and possession of child
pornography. Additionally, I have been informed that 18 U.S.C. § 1466A
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prohibits the distribution of visual representations of the sexual abuse of
children and that such depictions include cartoon images.

       4.     The facts set forth in this affidavit are based on my personal
knowledge; knowledge obtained from other individuals, including other law
enforcement officers; interviews of persons with knowledge; my review of
documents, interview reports and computer records related to this investigation;
communications with others who have personal knowledge of the events and
circumstances described herein; and information gained through my training
and experience. This affidavit contains information necessary to support
probable cause for this application and does not contain every material fact that
I have learned during the course of this investigation; however, no information
known to me that would tend to negate probable cause has been withheld from
this affidavit.

                 ITEMS TO BE SEARCHED FOR AND SEIZED:

       5.     This affidavit is submitted in support of an application for a search
warrant for the contents of and information pertaining to a Western Digital 8TB
SATA hard drive, SN: VDHMNGVD, containing the forensic image of an Acer
laptop computer, identified as P19042878 Acer LTHD01 500GB, seized from
Nuwan WICKRAMASINGHE, by the Ontario Provincial Police in Canada, which
is more specifically described in Attachment A, for contraband and evidence,
fruits, and instrumentalities of violations of 18 U.S.C. §§ 2251, 2252, and 2252A
(production, receipt and possession of child pornography), which items are more
specifically described in Attachment B.

                                  DEFINITIONS

     6.     The following definitions apply to this affidavit and Attachments A
and B:

      a.    “Chat,” as used herein, refers to any kind of text communication
            over the Internet that is transmitted in real-time from sender to
            receiver. Chat messages are generally short in order to enable other
            participants to respond quickly and in a format that resembles an
            oral conversation. This feature distinguishes chatting from other
            text-based online communications such as Internet forums and
            email.

      b.    “Child Erotica,” as used herein, means materials or items that are
            sexually arousing to persons having a sexual interest in minors but
            that are not necessarily, in and of themselves, obscene or that do
            not necessarily depict minors in sexually explicit poses or positions.



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    c.    “Child pornography,” as defined in 18 U.S.C. § 2256(8), is any visual
          depiction of sexually explicit conduct where (a) the production of the
          visual depiction involved the use of a minor engaged in sexually
          explicit conduct, (b) the visual depiction is a digital image, computer
          image, or computer-generated image that is, or is indistinguishable
          from, that of a minor engaged in sexually explicit conduct, or (c) the
          visual depiction has been created, adapted, or modified to appear
          that an identifiable minor is engaged in sexually explicit conduct.

    d.    “Cloud-based storage service,” as used herein, refers to a publicly
          accessible, online storage provider that collectors of child
          pornography can use to store and trade child pornography in larger
          volumes. Users of such a service can share links and associated
          passwords to their stored files with other traders of child
          pornography in order to grant access to their collections. Such
          services allow individuals to easily access these files through a wide
          variety of electronic devices such as desktop and laptop computers,
          mobile phones, and tablets, anywhere and at any time. An
          individual with the password to file stored on a cloud-based service
          does not need to be a user of the service to access the file. Access
          is free and readily available to anyone who has an internet
          connection.

    e.    “Computer,” as used herein, refers to “an electronic, magnetic,
          optical, electrochemical, or other high speed data processing device
          performing logical or storage functions, and includes any data
          storage facility or communications facility directly related to or
          operating in conjunction with such device” and includes
          smartphones, and mobile phones and devices. See 18 U.S.C. §
          1030(e)(1).

    f.    “Computer hardware,” as used herein, consists of all equipment
          which can receive, capture, collect, analyze, create, display, convert,
          store, conceal, or transmit electronic, magnetic, or similar computer
          impulses or data. Computer hardware includes any data-processing
          devices (including, but not limited to, central processing units,
          internal and peripheral storage devices such as fixed disks, external
          hard drives, floppy disk drives and diskettes, and other memory
          storage devices); peripheral input/output devices (including, but not
          limited to, keyboards, printers, video display monitors, and related
          communications devices such as cables and connections), as well as
          any devices, mechanisms, or parts that can be used to restrict
          access to computer hardware (including, but not limited to, physical
          keys and locks).

    g.    “Computer software,” as used herein, is digital information which
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          can be interpreted by a computer and any of its related components
          to direct the way they work. Computer software is stored in
          electronic, magnetic, or other digital form. It commonly includes
          programs to run operating systems, applications, and utilities.

    h.    “Computer-related documentation,” as used herein, consists of
          written, recorded, printed, or electronically stored material which
          explains or illustrates how to configure or use computer hardware,
          computer software, or other related items.

    i.    “Computer passwords, pass-phrases and data security devices,” as
          used herein, consist of information or items designed to restrict
          access to or hide computer software, documentation, or data. Data
          security devices may consist of hardware, software, or other
          programming code. A password or pass-phrase (a string of alpha-
          numeric characters) usually operates as a sort of digital key to
          “unlock” particular data security devices. Data security hardware
          may include encryption devices, chips, and circuit boards. Data
          security software of digital code may include programming code that
          creates “test” keys or “hot” keys, which perform certain pre-set
          security functions when touched. Data security software or code
          may also encrypt, compress, hide, or “booby-trap” protected data to
          make it inaccessible or unusable, as well as reverse the progress to
          restore it.

    j.    A provider of “Electronic Communication Service” (“ESP”), as defined
          in 18 U.S.C. § 2510(15), is any service that provides to users thereof
          the ability to send or receive wire or electronic communications. For
          example, “telephone companies and electronic mail companies”
          generally act as providers of electronic communication services. See
          S. Rep. No. 99-541 (1986), reprinted in 1986 U.S.C.C.A.N. 3555,
          3568.

    k.    “Electronic Storage Device” includes but is not limited to external
          and internal hard drives, thumb drives, flash drives, SD cards,
          gaming devices with storage capability, storage discs (CDs and
          DVDs), cameras, cellular phones, smart phones and phones with
          photo-taking and/or internet access capabilities, and any “cloud”
          storage by any provider.

    l.    “File Transfer Protocol” (“FTP”), as used herein, is a standard
          network protocol used to transfer computer files from one host to
          another over a computer network, such as the Internet. FTP is built
          on client-server architecture and uses separate control and data
          connections between the client and the server.


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    m.    “Internet Protocol address” or “IP address,” as used herein, refers to
          a unique number used by a computer to access the Internet. IP
          addresses can be “dynamic,” meaning that the ISP assigns a
          different unique number to a computer every time it accesses the
          Internet. IP addresses might also be “static,” if an ISP assigns a
          user’s computer a particular IP address that is used each time the
          computer accesses the Internet.

    n.    “Internet Service Providers” (“ISPs”), as used herein, are commercial
          organizations that are in business to provide individuals and
          businesses access to the Internet. ISPs provide a range of functions
          for their customers including access to the Internet, web hosting, e-
          mail, remote storage, and co-location of computers and other
          communications equipment.

    o.    “Records,” “documents,” and “materials,” as used herein, include all
          information recorded in any form, visual or aural, and by any
          means, whether in handmade, photographic, mechanical, electrical,
          electronic, or magnetic form.

    p.    “Remote Computing Service” (“RCS”), as defined in 18 U.S.C. §
          2711(2), is the provision to the public of computer storage or
          processing services by means of an electronic communications
          system.

    q.    “Short Message Service” (“SMS”), as used herein, is a service used
          to send text messages to mobile phones. SMS is also often referred
          to as texting, sending text messages or text messaging. The service
          allows for short text messages to be sent from one cell phone to
          another cell phone or from the Web to another cell phone. The term
          “computer,” as defined in 18 U.S.C. § 1030(e)(1), means an
          electronic, magnetic, optical, electrochemical, or other high speed
          data processing device performing logical, arithmetic, or storage
          functions, and includes any data storage facility or communications
          facility directly related to or operating in conjunction with such
          device.

    r.    “Sexually explicit conduct,” as defined in 18 U.S.C. § 2256(2), means
          actual or simulated (a) sexual intercourse, including genital-genital,
          oral-genital, or oral-anal, whether between persons of the same or
          opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or
          masochistic abuse; or (e) lascivious exhibition of the genitals or
          pubic area of any person.

    s.    “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes
          undeveloped film and videotape, data stored on computer disc or
                                     5
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           other electronic means which is capable of conversion into a visual
           image, and data which is capable of conversion into a visual image
           that has been transmitted by any means, whether or not stored in a
           permanent format.

  BACKGROUND ON CHILD EXPLOITATION AND CHILD PORNOGRAPHY,
            COMPUTERS, THE INTERNET, AND EMAIL

     7.     I have had both training and experience in the investigation of
computer related crimes. Based on my training, experience, and knowledge, I
know the following:

     a.    Computers and digital technology have dramatically changed the
           way in which individuals interested in child pornography interact
           with each other. Computers basically serve many functions for
           persons who exploit children online; they serve as a mechanism for
           meeting child-victims and communicate with them; they serve as a
           mechanism to get images of the children and send images of
           themselves; computers serve as the manner in which persons who
           exploit children online can meet one another and compare notes.

     b.    Persons who exploit children online, can now transfer printed
           photographs into a computer-readable format with a device known
           as a scanner. Furthermore, with the advent of digital cameras and
           smartphones with cameras, when the photograph is taken it is saved
           as a digital file that can be directly transferred to a computer by
           simply connecting the camera or smartphone to the computer. In
           the last ten years, the resolution of pictures taken by digital cameras
           and smartphones has increased dramatically, meaning that such
           pictures have become sharper and crisper. Photos taken on a digital
           camera or smartphone may be stored on a removable memory card
           in the camera or smartphone. These memory cards often store up
           to 32 gigabytes of data, which provides enough space to store
           thousands of high-resolution photographs. Video camcorders,
           which once recorded video onto tapes or mini-CDs, now can save
           video footage in a digital format directly to a hard drive in the
           camera. The video files can be easily transferred from the camcorder
           to a computer.

     c.    A device known as a modem allows any computer to connect to
           another computer through the use of telephone, cable, or wireless
           connection. Electronic contact can be made to literally millions of
           computers around the world.       The ability to produce child
           pornography easily, reproduce it inexpensively, and market it
           anonymously (through electronic communications) has drastically
           changed the method of distribution and receipt of child
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          pornography. Child pornography can be transferred via electronic
          mail or through file transfer protocols (FTPs) to anyone with access
          to a computer and modem.            Because of the proliferation of
          commercial services that provide electronic mail service, chat
          services (i.e., “Instant Messaging”), and easy access to the Internet,
          the computer is a preferred method of distribution and receipt of
          child pornographic materials.

    d.    The computer’s ability to store images in digital form makes the
          computer itself an ideal repository for child pornography and other
          materials used for the online child exploitation. The size of the
          electronic storage media (commonly referred to as the hard drive)
          used in home computers has grown tremendously within the last
          several years. These drives can store thousands of images at very
          high resolution. In addition, there are numerous options available
          for the storage of computer or digital files. One-Terabyte external
          and internal hard drives are not uncommon. Other media storage
          devices include CDs, DVDs, and “thumb,” “jump,” or “flash” drives,
          which are very small devices which are plugged into a port on the
          computer. It is extremely easy for an individual to take a photo or a
          video with a digital camera or camera-bearing smartphone, upload
          that photo or video to a computer, and then copy it (or any other
          files on the computer) to any one of those media storage devices (CDs
          and DVDs are unique in that special software must be used to save
          or “burn” files onto them). Media storage devices can easily be
          concealed and carried on an individual’s person. Smartphones
          and/or mobile phones are also often carried on an individual’s
          person.

    e.    The Internet affords individuals several different venues for meeting
          and exploiting children in a relatively secure and anonymous
          fashion.

    f.    Individuals also use online resources to exploit children, including
          services offered by Internet Portals such as Gmail and Hotmail,
          among others. The online services allow a user to set up an account
          with a remote computing service that provides e-mail services as
          well as electronic storage of computer files in any variety of formats.
          A user can set up an online storage account from any computer with
          access to the Internet. Even in cases where online storage is used,
          however, evidence of child pornography can be found on the user’s
          computer or external media in most cases.

    g.    As is the case with most digital technology, communications by way
          of computer can be saved or stored on the computer used for these
          purposes. Storing this information can be intentional, i.e., by saving
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            an e-mail as a file on the computer or saving the location of one’s
            favorite websites in, for example, “bookmarked” files. Digital
            information can also be retained unintentionally, e.g., traces of the
            path of an electronic communication may be automatically stored in
            many places (e.g., temporary files or ISP client software, among
            others). In addition to electronic communications, a computer
            user’s Internet activities generally leave traces or “footprints” in the
            web cache and history files of the browser used. Such information
            is often maintained indefinitely until overwritten by other data.

                               PROBABLE CAUSE

      8.     In April 2019, the Ontario Provincial Police (OPP) in Canada were
alerted to the sexual exploitation of a minor female in Ontario, Canada, by
Nuwan WICKRAMASINGHE.            The following is a synopsis of the OPP
investigation. Based on information obtained from a minor female, age 14,
WICKRAMASINGHE, aka "KEITH", was identified as contacting and grooming the
minor female from Snapchat handle "WickKush". WICKRAMASINGHE also
requested       the      minor      female       send       WICKRAMASINGHE
photos. WICKRAMASINGHE also lured the minor female to meet in
person. WICKRAMASINGHE eventually met the minor female in person in
WICKRAMASINGHE's vehicle. Upon meeting, WICKRAMASINGHE received oral
sex from the minor female and ejaculated in her mouth. WICKRAMASINGHE
also penetrated the minor female's vagina with WICKRAMASINGHE's fingers.

       9.     On April 18, 2019, the OPP arrested WICKRAMASINGHE for the
charges of luring, sexual assault, and invitation to sexual touching, in violation
of Canadian laws. The OPP consulted with WICKRAMASINGHE's wife to identify
electronic devices in his residence at Elmvale, Ontario, Canada, which may
contain further evidence of crimes involving the sexual exploitation of a
minor. The OPP was able to identify and secure five (5) electronic devices
pending the application and issuance of a search warrant. The OPP also
identified six (6) other electronic devices for consideration of a search warrant.

       10. On April 25, 2019, the OPP received a search warrant and seized the
following property associated to WICKRAMASINGHE:

            •      Black Huawei Leicu cell phone
            •      Acer Aspire laptop
            •      Dell Inspiron laptop
            •      Apevia hard drive
            •      Huawei Model MLA-L03 cell phone

      11. On May 24, 2019, the OPP arrested WICKRAMASINGHE for
additional charges related to this investigation of luring to facilitate the making


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of child pornography, luring for invitation to sexual touching, material benefit
from sexual services, and breach of recognizance.

      12. On October 11, 2019, I received a request from HSI Toronto to
attempt to identify a potential child victim depicted in the OPP child exploitation
investigation of WICKRAMASINGHE. HSI Toronto provided me with information
gleaned from the videos discovered during the OPP investigation suggesting the
child victim was associated with the Dakota Alliance Soccer Club (DASC) in
Sioux Falls, SD. HSI Toronto also provided me with sanitized images of the child
victim for possible identification.

       13. On October 11, 2019, I contacted DASC and requested assistance
with the identification process. I requested DASC email the photos to DASC
coaches to further assist. DASC coach Brandon Barkus immediately identified
the victim as Kennedy MARLOW, DOB: 09/01/2000.

      14. Due to MARLOW currently being an adult, I contacted OPP Detective
Kip Wohlert and requested additional information about the creation dates of the
suspected child exploitation involving MARLOW. Detective Wohlert replied the
videos appeared to have been created in February 2015, and were titled
"kennmarlow".

      15. On October 16, 2019, South Dakota Division of Criminal
Investigation Special Agent Jeff Kollars and I conducted an interview of MARLOW
at the Brookings Police Department in Brookings, SD. MARLOW was born on
November 1, 2000 and is currently 20 years old.

      16. I gave MARLOW as brief synopsis of how HSI Sioux Falls became
involved with this investigation and requested MARLOW provide a statement
about her possible involvement with a male in Canada. MARLOW voluntarily
provided the following information.

       17. Approximately five (5) years prior to this interview, while in 8th
grade, and 14 years of age, MARLOW received a friend notification on the mobile
application KIK from a male using a handle of “WICK” or something
similar. MARLOW attended 8th grade in 2014 and 2015. MARLOW and WICK
started messaging each other soon thereafter on KIK. MARLOW was living in
between MARLOW’s mother’s residence located at 2008 S. Jefferson Avenue,
Sioux Falls, SD, and MARLOW’s father’s residence located at 2504 E. Stanton
Circle, Sioux Falls, SD, at this time. WICK initially told MARLOW that WICK was
19 years of age and lived in Toronto, Canada. MARLOW told WICK that
MARLOW was 14 years of age and WICK stated he was fine with that. MARLOW
stated MARLOW was very naive at this age and believed the age difference was
appropriate.



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       18. MARLOW enjoyed and appreciated the attention WICK gave
MARLOW. MARLOW and WICK initially exchanged selfie photos of each other. A
short time thereafter, WICK requested MARLOW send WICK photos of
MARLOW’s bare breasts. MARLOW took the photos and shared them with WICK
over KIK. WICK then requested MARLOW take photos of MARLOW’s bare
buttocks. MARLOW took the photos and shared them with WICK over
KIK. WICK ultimately asked MARLOW for full nude photos and photos of
MARLOW’s vagina. MARLOW took the photos and shared them with WICK over
KIK. MARLOW believed MARLOW shared 50+ photos with WICK which depicted
MARLOW’s bare breasts, buttocks, and vagina. MARLOW further stated WICK
sent MARLOW photos of WICK’s erect penis. MARLOW believed the photos of
the erect penis were of WICK because WICK had very dark hair and the pubic
hair in the photos matched WICK’s hair.

       19. During their conversations, WICK told MARLOW that WICK would
try to meet with MARLOW in Sioux Falls, SD. WICK also offered to purchase
gifts for MARLOW, such as clothing or stuffed animals, and send them to
MARLOW. MARLOW declined the gifts and never provided WICK with
MARLOW’s home address. MARLOW further stated WICK portrayed WICK was
very wealthy, made lots of money, possessed luxury vehicles and could take care
of MARLOW.

      20. When MARLOW was in 9th grade, 2015/2016 school year, and
approximately 15 years of age, WICK asked MARLOW to download Skype so they
could video chat and WICK could hear MARLOW’s voice. WICK requested
MARLOW Skype with WICK while MARLOW took a shower. MARLOW
accommodated WICK’s request and observed WICK masturbating during these
video chats. MARLOW stated WICK also Skyped with MARLOW while WICK
showered. MARLOW stated WICK also asked MARLOW to Skype with WICK
while MARLOW was in her bedroom. MARLOW stated WICK requested MARLOW
use a hairbrush handle to penetrate her vagina during the video chat. MARLOW
accommodated WICK’s request and performed the sexual act with a hairbrush.

      21. MARLOW believed MARLOW used an iPhone 5 to Skype with WICK
and used an iPad to record this particular incident. MARLOW stated WICK used
a laptop to Skype and believed WICK messaged from a cell phone. MARLOW
stated MARLOW and WICK communicated for approximately one (1) year via KIK
and/or Skype.

      22. WICK eventually told MARLOW that WICK was actually 30+ years of
age. MARLOW believed WICK stated he was 36 years of age. MARLOW became
uncomfortable with the age difference and broke off the relationship with WICK
near the end of 9th grade in 2016. MARLOW stated WICK asked MARLOW if
MARLOW told anyone about their relationship and activities. WICK further told
MARLOW that WICK could get in a lot of trouble in anyone found out.


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      23. MARLOW stated MARLOW also provided WICK with MARLOW’s
Snapchat handle of “kennedyzebra” and MARLOW’s Instagram handle of
“kennedy_marlo.” MARLOW stated after MARLOW ended their relationship
WICK occasionally reached out to MARLOW on Snapchat from the handle
“dumpsterkush”. MARLOW blocked WICK on Snapchat. MARLOW showed me
the blocked accounts on MARLOW’s Snapchat account and I observed the
account “Keith Wick” with the handle “dumpsterkush”.

       24. I showed MARLOW a booking photo of WICKRAMASINGHE with no
identifiers and MARLOW positively identified the photo as the individual
MARLOW knew as "WICK."

      25. I showed MARLOW six (6) sanitized photos provided to me by the
OPP from images and videos depicting the child exploitation of a young female
found on WICKRAMASINGHE’s devices. MARLOW positively identified herself as
the female in all six (6) photos and was able to provide additional detail about
the photos. The first photo depicted only MARLOW’s face. MARLOW stated this
image was likely generated in 8th grade in the shower at MARLOW’s mother’s
residence. The second through fourth photos depicted MARLOW in a white
DASC shirt. MARLOW stated these images were likely generated in-between 8th
and 9th grade in the basement of MARLOW’s father’s residence. The fifth and
sixth photos depicted MARLOW in a yellow Galaxy Cup shirt. MARLOW stated
these images were likely generated in 9th grade at MARLOW’s father’s residence.

        26. On March 27, 2020, and March 30, 2020, I reviewed image and video
files received from the OPP which were located on an Acer laptop computer seized
from WICKRAMASINGHE pursuant to their investigation. The records included
56 image files and 56 video files. I reviewed the 56 video files and identified 21
videos which depicted child pornography as defined in 18 U.S.C. § 2256. All the
videos appear to depict the same Child Victim (CV), who was previously identified
as Kennedy MARLOW.

      27.    Two (2) of the videos captured a male's voice during video chats with
the           CV.            Those           files        were           identified
as                  21B2ACB91FF0954236E0402F5B8B5469                           and
482FE4688E98C8427C433A4EB9EF33F3. I requested OPP Detective Wohlert
and OPP Detective Lisa McGinnis listen to the videos in an attempt to identify
the male voice. Detective Wohlert subsequently contacted me and stated
Detectives Wohlert and McGinnis listened to the videos and found the male's
voice is similar to, and believed to be that of WICKRAMASINGHE.

      28.   I identified the following files as containing child pornography:

      •     File   000EBC2167F8B2A453A6E56402A1D266;             0:04:49    in
            length. CV is naked in the shower. CV appears to be video chatting

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          with an individual and taking instructions to perform sexual acts
          such as penetrate CV’s vagina with an object. CV is whispering
          during the video chat. Only the CV’s voice can be heard.

    •     File   00E92289BAAFDE726B4F0B7E9D5BC449;              0:04:40    in
          length. CV is naked in bed in the dark. CV appears to be video
          chatting with an individual and taking instructions to perform
          sexual acts such as penetrate CV’s vagina with an object. CV is
          whispering during the video chat. Only the CV’s voice can be heard.

    •     File   1B5165B06DF7DA18701CE181876483F6;             0:05:00    in
          length. CV is naked in the shower. CV appears to be video chatting
          with an individual and taking instructions to perform sexual acts
          such as penetrate CV’s vagina with an object. CV is whispering
          during the video chat. Only the CV’s voice can be heard.

    •     File   4E09E7F59D6C028ECD996542F14242B5;              0:00:59    in
          length. CV is naked in bed in the dark. CV appears to be video
          chatting with an individual and taking instructions to perform
          sexual acts such as penetrate CV’s vagina with an object. CV is
          whispering during the video chat. Only the CV’s voice can be heard.

    •     File   5E2BA85FD903CD9983C06CDE71ADD140;              0:01:27   in
          length. CV is naked in the dark. CV appears to be video chatting
          with an individual and taking instructions to perform sexual
          acts. CV appears to be instructed to spit on the handle of a
          hairbrush. CV appears to place the hairbrush on the CV’s genitals,
          however this is not depicted in the video. CV is whispering during
          the video chat.

    •     File   6D14D22E20BA938F27BA0F186813365E;           0:04:57   in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts, however there is no
          audio. CV penetrates the CV’s vagina with the handle of a
          hairbrush.

    •     File   9A08C936C9EDF9C1F86C1CEEDFA1CE31;               0:04:59   in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts such as penetrate CV’s
          vagina with the handle of a hairbrush. The CV appears to be told to
          penetrate the CV’s anus with the handle of hairbrush, however the
          CV states “No it hurts.” CV then pushes the handle of the hairbrush
          into the CV’s anus. CV is whispering during the video chat. Only
          the CV’s voice can be heard.


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    •     File   21B5C5F5A0721ED2280F43D66FDB44BA;             0:03:46   in
          length. CV is naked in the dark. CV appears to be video chatting
          with an individual and taking instructions to perform sexual acts
          such as penetrate CV’s vagina with the handle of a hairbrush. CV
          is whispering during the video chat. Only the CV’s voice can be
          heard.

    •     File   73C3EF00779F7B89AD0BA2A8EC139F34;             0:03:29    in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts such as penetrate CV’s
          vagina with the handle of a hairbrush. CV is whispering during the
          video chat. Only the CV’s voice can be heard.

    •     File   0156A7FABB74AA33C2CB0EC5073197A2;            0:03:20    in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts such as penetrate CV’s
          vagina with the handle of hairbrush. CV is whispering during the
          video chat. Only the CV’s voice can be heard.

    •     File   460DFA2AAED088C7DFE855424E3C2581;             0:02:30    in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts such as penetrate CV’s
          vagina with the handle of a hairbrush. CV is whispering during the
          video chat. Only the CV’s voice can be heard.

    •     File   489AD0DA77C35AB4B7313E36FB1A57FF;               0:04:59   in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts. CV straddles the camera
          showing the CV’s vagina and anus. The CV penetrates the CV’s
          vagina with the handle of a hairbrush. CV is whispering during the
          video chat. Only the CV’s voice can be heard.

    •     File   693756C8A2D88BE11BC1CDAFD6D8E1F8;              0:04:15    in
          length. The CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts such as penetrate CV’s
          vagina with the handle of a hairbrush. CV is whispering during the
          video chat. Only the CV’s voice can be heard.

    •     File   A7B72745FA18AA78E498F289CFB05F0D;             0:05:51   in
          length. CV is naked in shower. CV appears to be video chatting
          with an individual and taking instructions to perform sexual acts
          such as penetrate CV’s vagina with an object. CV is whispering
          during the video chat. Only the CV’s voice can be heard.



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    •     File   B8DD087E3FD53EDBFD7314F34014E4B2;            0:02:05   in
          length. CV is naked in bed in the dark. CV appears to be video
          chatting with an individual and taking instructions to perform
          sexual acts such as penetrate CV’s vagina with the handle of a
          hairbrush. CV is whispering during the video chat. Only the CV’s
          voice can be heard.

    •     File    B660C4FABE71E72AFA906142557E0355;             0:04:58    in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts. CV straddles the camera
          showing the CV’s vagina. CV penetrates the CV’s vagina with the
          handle of a hairbrush. CV is whispering during the video chat. Only
          the CV’s voice can be heard.

    •     File    B751E88E0D4939F80E0496939BB08958;             0:04:59    in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts. CV straddles the camera
          showing the CV’s vagina. CV penetrates the CV’s vagina with the
          handle of a hairbrush. CV is whispering during the video chat. Only
          the CV’s voice can be heard.

    •     File   B24028C6E938189FBE33AAB12840AD0B;              0:04:57    in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts. CV straddles the camera
          showing the CV’s vagina. CV penetrates the CV’s anus with the
          handle of a hairbrush. CV is whispering during the video chat. Only
          the CV’s voice can be heard.

    •     File   BA077D4430BB088535C4BD871EB35A72;               0:04:59   in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts. CV straddles the camera
          showing the CV’s vagina. CV penetrates the CV’s anus with the
          handle of a hairbrush. CV is whispering during the video chat. Only
          the CV’s voice can be heard.

    •     File    C9C410F3A395FF0335933AE3C9102480;             0:04:44    in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts. CV straddles the camera
          showing the CV’s vagina. CV penetrates the CV’s vagina and anus
          with the handle of a hairbrush. CV is whispering during the video
          chat. Only the CV’s voice can be heard.

    •     File    C650667E8BB10BC302E3144B66C94E27;             0:04:59    in
          length. CV appears to be video chatting with an individual and
          taking instructions to perform sexual acts. CV straddles the camera

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            showing the CV’s vagina and anus. CV penetrates the CV’s vagina
            and anus with the handle of a hairbrush. CV is whispering during
            the video chat. Only the CV’s voice can be heard.

      29. On May 7, 2020, I received a Western Digital 8TB SATA hard drive,
SN: VDHMNGVD, from HSI Toronto containing, the forensic image of an Acer
laptop computer, identified as P19042878 Acer LTHD01 500GB, seized from
WICKRAMASINGHE, pursuant to the OPP investigation.

      30. I believe a search warrant of the Western Digital 8TB SATA hard
drive identified in Attachment A will locate images depicting the child sexual
exploitation of victim Kennedy MARLOW.

  CHARACTERISTICS COMMON TO INDIVIDUALS WHO HAVE A SEXUAL
   INTEREST IN CHILDREN AND/OR WHO RECEIVE AND/OR POSSESS
                      CHILD PORNOGRAPHY

      31. Based on my previous investigative experience related to child
exploitation investigations, and the training and experience of other law
enforcement officers with whom I have had discussions, I know there are certain
characteristics common to individuals who have a sexual interest in children
and/or receive, or possess images of child pornography:

      a.    Individuals who have a sexual interest in children and/or receive,
            or possess images of child pornography may receive sexual
            gratification, stimulation, and satisfaction from contact with
            children, or from fantasies they may have viewing children engaged
            in sexual activity or in sexually suggestive poses, such as in person,
            in photographs, or other visual media, or from literature describing
            such activity.

      b.    Individuals who have a sexual interest in children and/or receive,
            or possess images of child pornography may collect sexually explicit
            or suggestive materials, in a variety of media, including
            photographs, magazines, motion pictures, videotapes, books, slides
            and/or drawings or other visual media. Individuals who have a
            sexual interest in children or images of children oftentimes use these
            materials for their own sexual arousal and gratification. Further,
            they may use these materials to lower the inhibitions of children
            they are attempting to seduce, to arouse the selected child partner,
            or to demonstrate the desired sexual acts.

      c.    Individuals who have a sexual interest in children and/or receive,
            or possess images of child pornography almost always possess and
            maintain their hard copies of child pornographic material, that is,
            their pictures, films, video tapes, magazines, negatives,
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            photographs, correspondence, mailing lists, books, tape recordings,
            etc., in the privacy and security of their home or some other secure
            location. Individuals who have a sexual interest in children or
            images of children often retain pictures, films, photographs,
            negatives, magazines, correspondence, books, tape recordings,
            mailing lists, child erotica, and videotapes for many years.

      d.    Likewise, individuals who have a sexual interest in children and/or
            receive, or possess images of child pornography often maintain their
            child pornography images in a digital or electronic format in a safe,
            secure, and private environment, such as a computer and
            surrounding area. These child pornography images are often
            maintained for several years and are kept close by, usually at the
            possessor’s residence, inside the possessor’s vehicle, or, at times, on
            their person, to enable the individual to view the child pornography
            images, which are valued highly.

      e.    Individuals who have a sexual interest in children and/or receive,
            or possess images of child pornography also may correspond with
            and/or meet others to share information and materials, rarely
            destroy    correspondence      from    other   child    pornography
            distributors/possessors, conceal such correspondence as they do
            their sexually explicit material, and often maintain lists of names,
            addresses, and telephone numbers of individuals with whom they
            have been in contact and who share the same interests in child
            pornography.

      f.    Individuals who have a sexual interest in children and/or receive,
            or possess images of child pornography prefer not to be without their
            child pornography for any prolonged time period. This behavior has
            been documented by law enforcement officers involved in the
            investigation of child pornography throughout the world.

                                 CONCLUSION

       32. Based on my training and experience, and the facts as set forth in
this affidavit, I believe there is probable cause to believe that there exists
evidence of a crime, contraband, instrumentalities, and/or fruits of violations of
criminal laws as specified herein, including identification of the person who used
the electronic devices described in Attachment A. The facts outlined above show
that the devices listed in Attachment A have been used for the exploitation of
children using the internet including violations of 18 U.S.C. §§ 2251, 2252,
2252A (production, receipt and possession of child pornography), which items
are more specifically described in Attachment B.



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       33. For these reasons, I request authority to seize all electronic
communications and other content stored in the devices, to be searched off-site
in a controlled environment.



                                           ____________________________________
                                           Special Agent Craig Scherer
                                           Homeland Security Investigations

      Subscribed and sworn to before me, telephonically, on the ____ day of
_____________________, 2020, at Sioux Falls, South Dakota.



                                           ____________________________________
                                           VERONICA L. DUFFY
                                           United States Magistrate Judge




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                              ATTACHMENT A
                           Property to Be Searched

      This warrant applies to the contents of and information associated with a

Western Digital 8TB SATA hard drive, SN: VDHMNGVD, containing the forensic

image of an Acer laptop computer, identified as P19042878 Acer LTHD01 500GB,

seized from Nuwan WICKRAMASINGHE, currently in the custody of HSI Sioux

Falls located at 2708 N. 1st Avenue, Sioux Falls, SD.




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                           ATTACHMENT B
               PROPERTY TO BE SEARCHED AND/OR SEIZED

       This warrant authorizes (i) the search of the property identified in
Attachment A for only the following and (ii) authorizes the seizure of the items
listed below only to the extent they constitute the following:

       (a)    evidence of violations of 18 U.S.C. §§ 2252 and 2252A (“subject
violations”); or

        (b)   any item constituting contraband due to the subject violations,
fruits of the subject violations, or other items possessed whose possession is
illegal due to the subject violations; or

    (c)    any property designed for use, intended for use, or used in
committing any subject violations.

             Subject to the foregoing, the items authorized to be seized include
the following:

             1. Computer(s), computer hardware, computer software, computer
related documentation, computer passwords and data security devices, mobile
telephone devices, mobile data storage devices, mobile electronic music players,
video gaming devices, videotapes, video recording devices, video recording
players, and video display monitors that may be, or are used to: visually depict
child pornography or child erotica; display or access information pertaining to a
sexual interest in child pornography; display or access information pertaining to
sexual activity with children; or distribute, possess, or receive child pornography,
child erotica, or information pertaining to an interest in child pornography or
child erotica.

            2. Any and all computer software, including programs to run
operating systems, applications (such as word processing, graphics, or
spreadsheet programs), utilities, compilers, interpreters, and communications
programs, including, but not limited to, P2P software.

             3. Any and all notes, documents, records, or correspondence, in any
format and medium (including, but not limited to, e-mail messages, chat logs
and electronic messages) pertaining to the possession, receipt, or distribution of
child pornography as defined in 18 U.S.C. § 2256(8) or to the possession, receipt,
or distribution of visual depictions of minors engaged in sexually explicit conduct
as defined in 18 U.S.C. § 2256(2).

           4. In any format and medium, all originals, computer files, copies,
and negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual

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depictions of minors engaged in sexually explicit conduct as defined in 18 U.S.C.
§ 2256(2), or child erotica.

             5. Any and all notes, documents, records, or correspondence, in any
format or medium (including, but not limited to, e-mail messages, chat logs and
electronic messages), identifying persons transmitting, through interstate or
foreign commerce by any means, including, but not limited to, by the United
States Mail or by computer, any child pornography as defined in 18 U.S.C. §
2256(8) or any visual depictions of minors engaged in sexually explicit conduct,
as defined in 18 U.S.C. § 2256(2).

             6. Any and all notes, documents, records, or correspondence, in any
format or medium (including, but not limited to, e-mail messages, chat logs and
electronic messages, other digital data files and web cache information)
concerning the receipt, transmission, or possession of child pornography as
defined in 18 U.S.C. § 2256(8) or visual depictions of minors engaged in sexually
explicit conduct, as defined in 18 U.S.C. § 2256(2).

            7. Any and all notes, documents, records, or correspondence, in any
format or medium (including, but not limited to, e-mail messages, chat logs and
electronic messages, and other digital data files) concerning communications
between individuals about child pornography or the existence of sites on the
Internet that contain child pornography or that cater to those with an interest in
child pornography.

            8. Any and all notes, documents, records, or correspondence, in any
format or medium (including, but not limited to, e-mail messages, chat logs and
electronic messages, and other digital data files) concerning membership in
online groups, clubs, or services that provide or make accessible child
pornography to members.

            9. Any and all records, documents, invoices and materials, in any
format or medium (including, but not limited to, e-mail messages, chat logs and
electronic messages, and other digital data files) that concern any accounts with
an Internet Service Provider.

            10. Any and all records, documents, invoices and materials, in any
format or medium (including, but not limited to, e-mail messages, chat logs and
electronic messages, and other digital data files) that concern online storage or
other remote computer storage, including, but not limited to, software used to
access such online storage or remote computer storage, user logs or archived
data that show connection to such online storage or remote computer storage,
and user logins and passwords for such online storage or remote computer
storage.

            11. Any and all visual depictions of minors.
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            12. Any and all address books, mailing lists, supplier lists, mailing
address labels, and any and all documents and records, in any format or medium
(including, but not limited to, e-mail messages, chat logs and electronic
messages, and other digital data files), pertaining to the preparation, purchase,
and acquisition of names or lists of names to be used in connection with the
purchase, sale, trade, or transmission, through interstate or foreign commerce
by any means, including by the United States Mail or by computer, any child
pornography as defined in 18 U.S.C. § 2256(8) or any visual depiction of minors
engaged in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).

             13. Any and all documents, records, or correspondence, in any
format or medium (including, but not limited to, e-mail messages, chat logs and
electronic messages, and other digital data files), pertaining to the ownership or
use of the devices listed in Attachment A, including, but not limited to, rental or
lease agreements, rental or lease payments.

             14. Any and all diaries, notebooks, notes, and any other records. in
any format or medium (including, but not limited to, e-mail messages, chat logs
and electronic messages, and other digital data files), reflecting personal contact
and any other activities with minors visually depicted while engaged in sexually
explicit conduct, as defined in 18 U.S.C. § 2256(2).

              15. Records or other items which evidence ownership or use of
electronic devices listed in Attachment A, including, but not limited to, sales
receipts, bills for Internet access, purchase agreements, registration documents,
or profiles.

            16. Before reviewing data from the electronic storage media or
electronic stored information seized pursuant to this warrant for purposes
unrelated to this investigation, the government agrees to request another search
warrant from the court.




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